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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
)
v. ) Cr. No. 18-10450-MLW
)
ERICK LOPEZ FLORES, )
HENRI SALVADOR GUTIERREZ, )
ELISEO VAQUERANO CANAS, )
JONATHAN TERCERO YANES, )
MARLOS REYES, and )
DJAVIER DUGGINS, )
Defendants. )
ORDER
WOLF, D.J. August 12, 2020
At the August 17, 2020 hearing concerning defendant Henri
Salvador Gutierrez's Motion to Dismiss (Dkt. No. 133) and Motion
to Strike Surplusage (Dkt. No. 134), the court intends also to
discuss issues of possible recusal not fully addressed in
defendants' responses to the July 27, 2020 Order (Dkt. No. 271),
and issues relating to Salvador Gutierrez's Rule 12.2 notice,
including whether an evaluation of his mental condition is
appropriate, as discussed in the July 28, 2020 Order (Dkt. No.
273). Accordingly, it is hereby ORDERED that:
1. Unless a motion to excuse is allowed, counsel for
defendants Erick Lopez Flores, Eliseo Vaquerano Canas, Jonathan
Tercero Yanes, Marlos Reyes, and Djavier Duggins shall appear at

the August 17, 2020 hearing. Counsel for all parties shall be

prepared to discuss the foregoing issues.
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2. Reyes shall, by August 13, 2020, respond to the July 27,
2020 Order (Dkt. No. 271).

3. Salvador Gutierrez, Tercero Yanes, Reyes, and Duggins
shall, by August 13, 2020, respond to paragraph 8 of the July 28,

2020 Order (Dkt. No. 273). See id. 78.

 
